 Case 1:02-cr-00291-PLM        ECF No. 91, PageID.24        Filed 12/12/05     Page 1 of 2




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION




ROBERT DONTRALL SHARP,

              Movant,
                                                         File No. 1:04-CV-433
v.
                                                         HON. ROBERT HOLMES BELL
UNITED STATES OF AMERICA,

              Respondent.
                                             /

              MEMO RANDUM O PINION AND ORDER

       This matter is before the Court on Movant Robert Dontrall Sharp's application for a

certificate of appealability. 1 In an opinion dated February 18, 2005, the Court denied

Movant's § 2255 motion. The Court held that Movant had procedurally defaulted his claim

based upon Apprendi v. New Jersey, 530 U.S. 466 (2000), by failing to file an appeal of his

criminal conviction and sentence. The Court also held that Movant's Apprendi claim was

meritless. In addition, the Court determined that Movant's claim of ineffective assistance of

counsel was similarly meritless. Accordingly, the Court denied Movant's request for relief

under § 2255. Movant now requests a certificate of appealability of the issues raised in his

§ 2255 motion.


       1
        Movant's application was filed under case file no. 1:02-CR-291, Movant's
criminal case file. His application, however, relates to issues raised in his motion to
vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 which has been
assigned file no. 1:04-CV-433.
 Case 1:02-cr-00291-PLM          ECF No. 91, PageID.25         Filed 12/12/05     Page 2 of 2




        Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

appealability should be granted. A certificate should issue if Movant has demonstrated a

"substantial showing of a denial of a constitutional right." 28 U.S.C. § 2253(c)(2). The

Court must "engage in a reasoned assessment of each claim" to determine whether a

certificate is warranted. Murphy v. Ohio, 263 F.3d 466, 467 (6th Cir. 2001). Each issue must

be considered under the standards set forth by the Supreme Court in Slack v. McDaniel, 529

U.S. 473 (2000).     Id. at 467. Consequently, this Court has examined each of Movant's

claims under the Slack standard.

        Under Slack, to warrant a grant of a certificate, "[t]he petitioner must demonstrate that

reasonable jurists would find the district court's assessment of the constitutional claims

debatable or wrong." The Court finds that reasonable jurists could not find that the Court's

denial of each of Movant's claims was debatable or wrong. Thus, Movant has not made a

"substantial showing of a denial of a constitutional right."         28 U.S.C. § 2253(c)(2).

Therefore, the Court will deny Movant a certificate of appealability. Accordingly,

        IT IS HEREBY ORDERED that Movant's application for a certificate of

appealability (Docket #90, Case No. 1:02-CR-291) is DENIED.




Date:       August 19, 2005                  /s/ Robert Holmes Bell
                                             ROBERT HOLM ES BELL
                                             CHIEF UNITED STATES DISTRICT JUDGE
